[1] Pending the hearing of the appeal in the above-entitled cause, one of the appellants, Pacific States Savings and Loan Company, applied to this court for and *Page 299 
was granted a writ of supersedeas to stay the execution of that part of the judgment directing said company to pay "forthwith" a sum of money in its possession, which the trial court by its judgment decreed was the property of one of the respondents. Subsequently the respondents moved to vacate and set aside said writ. The appeal has now been determined on the merits (Beemer
v. Roher, ante, p. 293 [30 P.2d 547]), the judgment being reversed with directions to revise and re-enter the same in accordance with the views expressed in the opinion filed therein. The entry of the revised judgment will supersede the one appealed from, and therefore the questions raised by respondents' motion to vacate and set aside said writ of supersedeas have become moot. Upon that ground respondents' motion is dismissed.
Tyler, P.J., and Cashin, J., concurred.